Case 3:25-cv-05235-PHK   Document 1-2   Filed 06/23/25   Page 1 of 8




                EXHIBIT B
                          Case 3:25-cv-05235-PHK           Document 1-2         Filed 06/23/25      Page 2 of 8




1. Claim Chart

   Claim                                                                   Analysis
[14.P]      A    Stellar Cyber (“Company”) makes, uses, sells and/or offers to sell a security subsystem configurable between a network
security         and a host of an endpoint, the security subsystem comprising computing resources.
subsystem
configurable     This element is infringed literally, or in the alternative, under the doctrine of equivalents.
between      a
network and a    For example, Company provides Open XDR for Enterprises (“security subsystem”) which includes network detection
host of an       and response (NDR) that protects cloud, on-premise, OT, and hybrid environments (“configurable between a network
endpoint, the    and a host of an endpoint”) from a single dashboard by detecting and remediating threats across the network. Further, it
security         includes NexGen SIEM, TIP, UEBA, FIM, SOAR, NDR, and IDS (“computing resources”) that provide security
subsystem        capabilities to protect IT and OT environments.
comprising
computing
resources for
providing:



                                                                                                                   Security
                                                                                                                   subsystem




                 Source: https://stellarcyber.ai/product/sc-enterprises/ (annotated)


                                                                                                                                            2
        Case 3:25-cv-05235-PHK            Document 1-2    Filed 06/23/25   Page 3 of 8




Source: https://stellarcyber.ai/product/sc-enterprises/




Source: https://stellarcyber.ai/wp-content/uploads/2023/08/08-23_OpenXDR-Datasheet.pdf, Page 1




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        Case 3:25-cv-05235-PHK            Document 1-2    Filed 06/23/25     Page 4 of 8




Source: https://stellarcyber.ai/product/sc-enterprises/




Source: https://stellarcyber.ai/product/sc-enterprises/

Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
supplement these contentions pursuant to production of such source code by the Company.



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                         Case 3:25-cv-05235-PHK           Document 1-2         Filed 06/23/25      Page 5 of 8




[14.1]     an   Company provides an open platform for receiving and executing security function software modules from multiple
open            vendors for providing defense functions for protection of the host.
platform for
receiving and   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
executing
security        For example, Company’s Open XDR Platform (“open platform”) integrates with third-party services (“multiple
function        vendors”) such as Acronis Cyber Protect Cloud, AWS GuardDuty, Bitdefender, and CrowdStrike Falcon to receive third-
software        party native alerts and security events (“receiving and executing security function software modules”) and create
modules from    Company’s alerts by applying ML/SA engines, direct mapping, and combining both the alerts, for providing security to
multiple        the IT and OT environments.
vendors for
providing
defense
functions for
protection of
the host.       ‘
                Source: https://stellarcyber.ai/product/sc-enterprises/




                Source: https://docs.stellarcyber.ai/prod-docs/4.3.x/Using/Alerts/Alert-Third-Party-Integration.htm




                                                                                                                                       5
        Case 3:25-cv-05235-PHK            Document 1-2     Filed 06/23/25     Page 6 of 8




Source: https://docs.stellarcyber.ai/prod-docs/4.3.x/Using/Alerts/Alert-Third-Party-Integration.htm




                       Multiple vendors




Source: https://docs.stellarcyber.ai/prod-docs/4.3.x/Using/Alerts/Alert-Third-Party-Integration.htm (annotated)




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        Case 3:25-cv-05235-PHK          Document 1-2       Filed 06/23/25     Page 7 of 8




Source: https://docs.stellarcyber.ai/prod-docs/4.3.x/Using/Alerts/Alert-Third-Party-Integration.htm




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        Case 3:25-cv-05235-PHK          Document 1-2       Filed 06/23/25     Page 8 of 8




Source: https://docs.stellarcyber.ai/prod-docs/4.3.x/Using/Alerts/Alert-Third-Party-Integration.htm

Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
supplement these contentions pursuant to production of such source code by the Company.




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